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 2 Phoenix, AZ 85012
   602.248.1000
 3
   Maria Crimi Speth (012574)
 4 mcs@jaburgwilk.com
   Aaron K. Haar (030814)
 5 akh@jaburgwilk.com
 6 Attorneys for Defendants
 7
 8                                  UNITED STATES DISTRICT COURT
 9                                    FOR THE DISTRICT OF ARIZONA
10
11    Lerner & Rowe, PC, an Arizona
      corporation,                                 Case No. 2:21-cv-01540-DGC
12
                         Plaintiff,
13                                                 NOTICE OF SUBSTITUTION OF
      v.                                           COUNSEL WITH CONSENT
14
      Brown Engstrand & Shely LLC, d/b/a
15    The Accident Law Group, an Arizona
      corporation; Joseph L. Brown, an
16    individual, et al.,
17                       Defendants.
18
19             Notice is hereby given that, subject to approval by the Court, Defendants Brown
20 Engstrand & Shely LLC, d/b/a The Accident Law Group and Joseph L. Brown
21 substitute Maria Crimi Speth, State Bar No. 012574, and Aaron K. Haar, State Bar No.
22 030814 of the law firm of Jaburg & Wilk, P.C., as counsel of record in place of Brian J.
23 Foster and Ross P. Meyer of Wilenchik & Bartness, P.C.
24            A proposed form of Order granting the substitution is submitted with this
25 Stipulation.
26        Contact information for new counsel is as follows:
27
28



     23010-23010-00001\\MCS\\DAG\\5214713.1
      Case 2:21-cv-01540-DGC Document 41 Filed 09/06/22 Page 2 of 3



 1                                    Maria Crimi Speth
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 5                                      Aaron K. Haar
                                   JABURG & WILK, P.C.
 6                                3200 North Central Avenue
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 7                                   Phoenix, AZ 85012
                                    akh@jaburgwilk.com
 8
 9
10                    CONSENTS TO SUBSTITUTION OF COUNSEL
11
           Defendants Brown Engstrand & Shely LLC, d/b/a The Accident Law Group and
12
     Joseph L. Brown, consent to the above substitution.
13
14
     Date: September 6, 2022           Joseph Brown and Associates, LLC formerly known
15                                     as Brown Engstrand & Shely LLC,
                                       d/b/a The Accident Law Group
16
17                                     By /s/Joseph L. Brown
                                             Joseph L. Brown
18
19
                                       /s/Joseph L. Brown
20                                        Joseph L. Brown
21
22         Counsel Brian J. Foster and Ross P. Beyer consent to be substituted.
23
24 Date: September 6, 2022             /s/ Brian J. Foster
                                           Brian J. Foster
25
26
                                       /s/ Ross P. Meyer
27                                         Ross P. Meyer
28


                                                 2
      Case 2:21-cv-01540-DGC Document 41 Filed 09/06/22 Page 3 of 3



 1         Counsel Maria Crimi Speth and Aaron K. Haar consent to the above substitution.
 2
     Date: September 6, 2022         /s/ Maria Crimi Speth
 3                                       Maria Crimi Speth
 4
 5                                   /s/Aaron K. Haar
                                        Aaron K. Haar
 6
 7
 8
 9
                                    Certificate of Service
10
   I hereby certify that on 6th day of September, 2022, I electronically transmitted the
11 attached document to the Clerk’s Office using the CM/ECF System for filing, and for
   transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
12
                                       Andrew M. Gaggin
13                                     Lerner & Rowe PC
                                  2701 East Camelback Road
14                                          Suite 140
                                    Phoenix, Arizona 85016
15                               andrewg@lernerandrowe.com
                                     Attorneys for Plaintiff
16
17
18                                          /s/Debra Gower
19
20
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